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                      IN THE UNITED STATES DISTRICT COURT                                      6/4/2019
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                      LYNCHBURG DIVISION


  TIMOTHY Z. SANTIAGO,                               CASE NO. 6:19-cv-00036
                                       Plaintiff,
                                                     ORDER
                        v.
                                                     SENIOR JUDGE NORMAN K. MOON
  COMMONWEALTH OF VIRGINIA,
                                     Defendant.


       Timothy Z. Santiago commenced this action against the Commonwealth of Virginia by

filing a pro se complaint (dkt. 2) as well as an application to proceed in forma pauperis (dkt. 1).

The Court GRANTS the application to proceed in forma pauperis but DISMISSES the Complaint

for lack of jurisdiction because the suit is barred by the Eleventh Amendment to the United States

Constitution.

       Plaintiff seeks reinstatement of his driver’s license and monetary damages, naming the

Commonwealth of Virginia as the sole defendant. (Dkt. 2 at 1, 5). The Eleventh Amendment,

however, prohibits exercise of federal judicial power over “any suit in law or equity, commenced

or prosecuted against one of the United States by Citizens of another State.” U.S. Const. amend.

XI. Determinative here, it is well-established that the Eleventh Amendment “also precludes

citizens from bringing suits in federal court against their own states.” Litman v. George Mason

Univ., 186 F.3d 544, 549 (4th Cir. 1999). A suit against a State is “barred regardless of the relief

sought.” Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993).

Because of its jurisdictional nature, a court may consider the issue of Eleventh Amendment

immunity at any time, even sua sponte. Suarez Corp. Indus. v. McGraw, 125 F.3d 222, 227 (4th

Cir. 1997).
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        The Complaint names the Commonwealth of Virginia as Defendant. Plaintiff does not

contend that the Commonwealth has consented to this suit. Therefore, the action is barred by the

Eleventh Amendment and is dismissed. See Papasan v. Allain, 478 U.S. 265, 276 (1986) (“[I]n

the absence of consent a suit in which the State or one of its agencies or departments is named as

the defendant is proscribed by the Eleventh Amendment . . . whether the relief sought is legal or

equitable.” (internal quotation marks and citations omitted)).1

        Accordingly, it is hereby ORDERED that: (1) Plaintiff’s motion for leave to proceed in

forma pauperis (dkt. 1) is GRANTED; (2) Plaintiff’s complaint is DISMISSED for lack of

jurisdiction pursuant to the Eleventh Amendment to the United States Constitution; and (3) the

case is STRICKEN from the active docket of the Court.

        The Clerk of the Court is directed to send a copy of this Order to the pro se Plaintiff and to

close this case.

        ENTERED this _____
                      4th day of June, 2019.




1
 The suit would also be subject to dismissal if construed to be brought pursuant to 42 U.S.C. §
1983. Section 1983 provides a cause of action against any “person” who, under color of state law,
causes the deprivation of another person’s rights under the Constitution or laws of the United
States. It is well-settled, however, that neither a State nor an agency of the State is a “person”
within the meaning of the statute. Will v. Michigan Dept. of State Police, 491 U.S. 58, 64-66
(1989). Because the Complaint does not assert a claim against a “person” but only against the
Commonwealth, the action fails to state a claim on which relief may be granted under Section
1983. See 28 U.S.C. §1915(e)(2)(B)(ii) (applicable to proceedings in forma pauperis).
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